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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                                       Chapter 7

 PROJECT VERTE INC.,                                          Case No. 23-10101-LSS
                                                              Hearing Date: March 16, 2023 at 2:30 p.m. EST
                                                              Obj. Deadline: March 9, 2023 at 4:00 p.m. EST
                          Debtor.

                           MOTION FOR ENTRY OF AN ORDER
                      DIRECTING TURNOVER OF ESTATE PROPERTY

          Alfred T. Giuliano (the “Trustee”), the Chapter 7 trustee for the estate of Project Verte Inc.

(the “Debtor”), by and through his proposed attorneys, Fox Rothschild, LLP, files this Motion for

Entry of an Order Directing Turnover of Estate Property (the “Motion”). In support of the Motion,

the Trustee respectfully states as follows:

                                           JURISDICTION

          1.     The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (E) and (O).

          2.     Venue of this proceeding and this Motion is proper in this district pursuant to 28

U.S.C. §§1408 and 1409.

          3.     The statutory predicates for the relief requested herein are 11 U.S.C. §§ 541, 542,

and 543.

                                           BACKGROUND

          4.     On January 26, 2023 (“Petition Date”), the Debtor, through a receiver appointed in

accordance with applicable Delaware law (the “Receiver”), filed a voluntary petition for relief

under Chapter 7 of the Bankruptcy Code in the Bankruptcy Court for the District of Delaware (the

“Court”).
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        5.       On January 27, 2023, the Office of the United States Trustee appointed the Trustee

as Chapter 7 trustee, which appointment remains in effect [D.N. 6].

        6.       Prior to the Petition Date, the Debtor operated as a full circle e-commerce platform

that used automated fulfillment centers, proprietary software, and blockchain technology to service

its customers.

        7.       Prior to the Petition Date, the Debtor sold part of its business to JA Tech Holdings

LLC pursuant to that certain Chancery Sale Order dated January 20, 2023 (the “Chancery Sale

Order”), resulting in net proceeds (the “Tech Proceeds”) in the approximate amount of $1,150,000.

A copy of the Chancery Sale Order is attached hereto as Exhibit “A” and incorporated by

reference herein.

        8.       As more fully set forth in the Chancery Sale Order, the Tech Proceeds are being

held in the Receiver’s designated account. See Chancery Sale Order ¶ 3.

        9.       The Chancery Sale Order also provides that the Tech Proceeds “shall remain with

the Receiver subject to further order of [the Chancery Court] or another court of competent

jurisdiction.” Id.

        10.      Following his appointment, the Trustee requested that the Receiver turnover the

Tech Proceeds. However, given the language of the Chancery Sale Order and out of an abundance

of caution, the Receiver has requested entry of an order directing the turnover of the Tech Proceeds

before remittance.

                                      RELIEF REQUESTED

        11.      The Trustee requests the entry of an Order (i) directing the Receiver to turnover to

the Trustee all property of the Debtor, including the Tech Proceeds, pursuant to 11 U.S.C. §§ 542



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and 543; and (b) directing the Receiver to file an accounting of the Debtor’s property in

accordance with 11 U.S.C. § 543.

                                       BASIS FOR RELIEF

        12.     The Tech Proceeds are subject to turnover pursuant to Sections 542 and 543 of the

Bankruptcy Code because the Tech Proceeds are property of the Debtor’s estate under Section 541

of the Bankruptcy Code, and the Receiver is in possession, custody, and control of the Tech

Proceeds.

        13.     Section 542 of the Bankruptcy Code gives a trustee the power to seek turnover of

all property of a debtor’s estate:

        [A]n entity, other than a custodian, in possession, custody, or control, during the
        case, of property that the trustee may use, sell, or lease under section 363 of this
        title, or that the debtor may exempt under section 522 of this title, shall deliver to
        the trustee, and account for, such property or the value of such property, unless such
        property is of inconsequential value or benefit to the estate.

11 U.S.C. § 542 (a).

        14.     Similarly, Section 543 of the Bankruptcy Code requires custodians, including the

Receiver, to turnover property of a debtor, as well as provide an accounting of such property:

        A custodian shall—

        (1) deliver to the trustee any property of the debtor held by or transferred to such custodian,
            or proceeds, product, offspring, rents, or profits of such property, that is in such
            custodian’s possession, custody, or control on the date that such custodian acquires
            knowledge of the commencement of the case . . . .

11 U.S.C. § 543(b).

        15.     As set forth above, the Tech Proceeds are property of the Debtor pursuant to 11

U.S.C. § 541 because, as set forth in the Chancery Sale Order, the Debtor holds both legal and

equitable interests in the Tech Proceeds as of the Petition Date.

        16.     The Receiver is in possession, custody, and control of the Tech Proceeds.
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       17.     The Trustee may use the Tech Proceeds under Section 363 of the Bankruptcy Code.

       18.     The Tech proceeds are valuable and beneficial to the Debtor’s estate.

       19.     Thus, the Receiver is obligated to turnover the Tech Proceeds in accordance with

11 U.S.C. §§ 542 and 543.

                                              NOTICE

       20.     Notice of this Motion will be provided to: (a) the Office of the United States Trustee

for the District of Delaware; (b) counsel for the Debtor; (c) counsel for the Receiver; (d) all parties

who have filed a proof of claim as of this Motion; and (e) those persons who have requested notice

pursuant to Bankruptcy Rule 2002. The Trustee submits that no further notice is required and

requests that the Court determine such notice is adequate and proper.




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                                        CONCLUSION

        WHEREFORE, the Trustee respectfully requests entry of an order (i) authorizing and

directing the Receiver to turnover to the Trustee all property of the Debtor, including the Tech

Proceeds, pursuant to 11 U.S.C. §§ 542 and 543; (ii) directing the Receiver to file an accounting

of the Debtor’s property in accordance with 11 U.S.C. § 543; and (iii) for such other and further

relief as is just.


                                            Respectfully submitted,

                                            FOX ROTHSCHILD LLP

                                            By: /s/ Seth A. Niederman
                                            Seth A. Niederman, Esquire
                                            Delaware Bar No. 4588
                                            919 North Market Street, Suite 300
                                            P.O. Box 2323
                                            Wilmington, DE 19899-2323
                                            Phone (302) 654-7444/Fax (302) 656-8920
                                            sniederman@foxrothschild.com

                                                           -and-

                                            Michael G. Menkowitz, Esquire
                                            Jesse M. Harris, Esquire
                                            2000 Market Street, 20th Floor
                                            Philadelphia, PA 19103-3222
                                            Phone (215) 299-2000/Fax (215) 299-2150
                                            mmenkowitz@foxrothschild.com
                                            jesseharris@foxrothschild.com
Dated: February 24, 2023
                                            Proposed Counsel for Alfred T. Giuliano,
                                            Chapter 7 Trustee for the estate of Project Verte
                                            Inc.




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